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12
                                   UNITED STATES DISTRICT COURT
13
                                  CENTRAL DISTRICT OF CALIFORNIA
14
     TCL COMMUNICATION TECHNOLOGY Case No. 8:14-CV-00341 JVS-DFMx
15   HOLDINGS, LTD. et al. ,      Case No. 2:15-CV-02370 JVS-DFMx
16                   Plaintiff,                    Honorable: James V. Selna
                                                   Courtroom:
17     v.
                                                   DECLARATION OF SONJA
18   TELEFONAKTIEBOLAGET LM                        LONDON IN RESPONSE TO THE
     ERICSSON, et al.,                             COURT'S REQUEST FOR
19                                                 INFORMATION REGARDING
                     Defendants.                   LICENSES
20
21                                                 Date: November 7, 2016
                                                   Time: 3:00 p.m.
22                                                 Courtroom: 10C
23                                                 Filing Date: November 3, 2016
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      DECLARATION OF S. LONDON IN RESPONSE TO REQUEST FOR INFORMATION REGARDING LICENSES
     LEGAL02/36604494v1
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 1   I, Sonja London, declare as follows:
2            1.      I am Head of Licensing Program Management at Nokia. I have been
 3   employed at Nokia Corporation ("Nokia") and worked with the licensing department
 4   since 2007. I have knowledge of the facts set forth in this declaration, and if called to
 5   testify as a witness thereto could do so competently under oath. I have conferred with
 6   various member of Nokia's licensing team and reviewed documents related to the
 7   Court's November 1, 2016 request for additional information regarding Nokia's
 8   licenses and licensing negotiations with the Plaintiffs ("TCL") and Defendants
 9   ("Ericsson") in this action. Specifically, the Court asked each third party applicant to
10   provide a brief declaration regarding 4 points of inquiry. I address each in turn:
11           2.      Have any of the Third Parties entered into a patent license with TCL or
12   Ericsson in the past five years?
13                        a. Nokia entered into a confidential Patent License Agreement with
14                           Ericsson in 2004, which is still in effect. In 2007 Nokia entered
15                           into the Patent License Agreement between Nokia and T&A
16                           Mobile Phones Ltd., now plaintiff TCT Mobile Ltd. That
17                           agreement was executed by TCL's proposed corporate
18                           representative, Stephen Chiang. Prior to entering into the
19                           agreement, Nokia engaged in negotiations with Mr. Chiang.
20                           Subsequent to the agreement, Nokia and TCT Mobile Ltd. engaged
21                           in additional confidential discussions related to the royalties under
22                           the agreement. The license, along with the previous and
23                           subsequent correspondence were all subject to strict confidentiality
24                           agreements which prevent public disclosure.
25           3.      Have any of the Third Parties conducted other patent license negotiations
26   with TCL or Ericsson that did not result in a license in the past five years?
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      DECLARATION OF S. LONDON IN RESPONSE TO REQUEST FOR INFORMATION REGARDING LICENSES
     LEGAL02/36604494v1
 Case 8:14-cv-00341-JVS-DFM Document 1186 Filed 11/03/16 Page 3 of 4 Page ID
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 1                        a. Nokia has engaged in licensing discussions with both TCL and
 2                           Ericsson in the past five years which are subject to strict
 3                           confidentiality agreements which prevent public disclosure.
 4            4.      If there have been actual licenses or negotiation, do those licenses and/or
 5   negotiations relate the types of patents at issue here?
 6                        a. Nokia has engaged in various negotiations with the parties to this
 7                           case related to intellectual property rights. As these discussions
 8                           are covered by non-disclosure agreements, I am not permitted to
 9                           get into the substance of these discussions. These negotiations
10                           have included cellular standard essential patents.
11            5.      Any other information which would be useful to the Court to determine
12   whether disclosure of a Third Party's trade secret information to a TCL or Ericsson
13   representative presents a threat of actual or potential competitive harm to the Third
14   Party.
15                        a. As I mentioned in my August 30, 2016 declaration, Nokia is no
16                           different than others in the industry in that it engages in
17                           confidential negotiations which often lead to confidential license
18                           agreements, including the agreements subject to Nokia's request
19                           for confidential treatment here. See Dkt. 1107-2. Nokia is
20                           currently engaged in licensing discussions with TCL and expects
21                          to have additional discussions moving forward; providing a TCL
22                           representative who is directly or indirectly involved with licensing
23                          with Nokia's confidential licensing information relating to
24                          Ericsson will undoubtedly give TCL an advantage in those
25                          negotiations. Nokia anticipates that TCL's Stephen Chiang will be
26                           involved in those discussions moving forward. While Nokia is not
27                          currently engaged in active negotiations for a license with
28                          Ericsson, Nokia and Ericsson are competitors in the licensing
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      DECLARATION OF S. LONDON IN RESPONSE TO REQUEST FOR INFORMATION REGARDING LICENSES
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 1                        business and permitting an Ericsson representative to view Nokia's
 2                        license with TCL creates an unfair advantage for Ericsson in future
 3                        negotiations. Further, Nokia and Ericsson may re-engage in
 4                        license negotiations in the future.
 5           I declare under penalty of perjury under the laws of the United States that the
 6   foregoing is true and correct. Executed on this    3rd   day of November, 2016, in Espoo,
 7   Finland.
 8   DATED: November 3, 2016
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      DECLARATION OF S. LONDON IN RESPONSE TO REQUEST FOR INFORMATION REGARDING LICENSES
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